     Case
      Case2:14-cr-00377-LDG-CWH
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 1    DANIEL G. BOGDEN
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 2
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 5    FAX: (702) 388-6418

 6
                         UNITED STATES DISTRICT COURT
 7
                              DISTRICT OF NEVADA
 8                                   -oOo-
 9    UNITED STATES OF AMERICA,                        2:14-cr-00377-LDG-CWH

10                           Plaintiff,                GOVERNMENT’S MOTION TO
                                                       DISMISS CRIMINAL
11                 vs.                                 INDICTMENT PURSUANT TO
                                                       FEDERAL RULE OF
12    ROBERT RODRIGUEZ, and                            CRIMINAL PROCEDURE 48(A)
13    CARLOS VELASQUEZ
14                           Defendants.
15
             The United States of America, by and through the undersigned attorney,
16

17    respectfully seeks leave of court pursuant to Federal Rule of Criminal Procedure 48(a)

18    to dismiss without prejudice the Criminal Indictment filed November 25, 2014 (See

19    Docket #1) against defendants Robert RODRIGUEZ and Carlos VELASQUEZ in the

20    interest of justice.

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                                                 1
     Case
      Case2:14-cr-00377-LDG-CWH
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 1          The defendants are not in custody on the charges listed above.
 2
            DATED: March 16, 2016.
 3
                                            Respectfully submitted,
 4
                                            DANIEL G. BOGDEN
 5                                          United States Attorney

 6
                                            /s/ Susan Cushman
 7                                          _______________________________
                                            SUSAN CUSHMAN
 8                                          Assistant United States Attorney

 9

10

11
                                             ORDER
12

13   IT IS SO ORDERED.
     DATED this _____ day of March, 2016.
14

15

16                                              ______________________________________
                                                          Lloyd D. George
17                                                     Sr. U.S. District Judge
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